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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  ALAN RACKEMANN, individually and on
  behalf of all others similarly situated,

                     Plaintiff,
                                                   Case No. 1:17-cv-00624-TWP-MJD
  v.
                                                   Hon. Tanya Walton Pratt
  LISNR, INC., a Delaware Corporation,
  ADEPT MOBILE, LLC, a Massachusetts               Magistrate Mark J. Dinsmore
  Limited Liability Company, and
  INDIANAPOLIS COLTS, INC., an Indiana
  Corporation,

                   Defendants.


                      COUNTERDEFENDANTS’ MOTION TO DISMISS

         Counterdefendants Alan Rackemann, Jeff Evans, and Edelson PC respectfully move,

  under Rule 12(b)(6) of the Federal Rules of Civil Procedure, for an order dismissing the

  amended counterclaims filed by Counterplaintiff LISNR, Inc. (Dkt. 218). This motion is based

  upon the accompanying Counterdefendants’ Memorandum in Support of Motion Dismiss

  Counterclaims.

  Dated: February 9, 2018                         Respectfully submitted,

                                                  ALAN RACKEMANN, JEFF EVANS, and
                                                  EDELSON PC

                                                  By: /s/ Rafey S. Balabanian

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                                        Counsel for Plaintiff and the Putative Classes,
                                        and Counterclaim Defendants Alan Rackemann,
                                        Jeff Evans, and Edelson PC
  	                      	
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 9, 2018, I served the above and foregoing by causing a
  true and accurate copy of such paper to be filed and transmitted to all counsel of record via the
  Court’s CM/ECF electronic filing system.

                                               /s/ Rafey S. Balabanian
